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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

SANTIAGO CASTANEDA,                                  )
                                                     )
                               Plaintiff,            )
                                                     )
                       v.                            )       Case No. 1:16-CV-3414
                                                     )
LOWE’S HOME CENTERS, LLC,                            )
                                                     )
                               Defendant.            )

                            AGREED STIPULATION TO DISMISS

          Plaintiff, SANTIAGO CASTANEDA, and Defendant, LOWE’S HOME CENTERS, LLC,

through their respective attorneys, CARY J. WINTROUB & ASSOCIATES, and HEPLERBROOM LLC,

on an agreed basis, and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), hereby stipulate and agree that

all matters in controversy have been compromised and settled to the satisfaction of the parties, and

that further, this cause of action shall be dismissed with prejudice and without costs to any party

herein.

Respectfully Submitted,                              Respectfully submitted,

LOWE’S HOME CENTERS, LLC,                            SANTIAGO CASTANEDA,
Defendant                                            Plaintiff

By: /s/ Edna McLain                                  By: /s/ Michael Hume
        One of its attorneys                                One of his attorneys

Edna McLain, #6278008                                Michael A. Hume
HEPLERBROOM LLC                                      CARY J. WINTROUB & ASSOCIATES
30 N. LaSalle Street, Ste. 2900                      10 S. LaSalle Street, Ste. 2424
Chicago. IL 60602                                    Chicago, IL 60603
(312) 230-9100 (telephone)                           (312) 726-1021 (telephone)
(312) 230-9201 (facsimile)                           (312) 726-4009 (facsimile)
E-mail: elm@heplerbroom.com                          E-mail: mah@cjw-law.com
